        Case 1:16-cr-00004-SPW Document 55 Filed 10/21/16 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION



 UNITED STATES OF AMERICA,
                                                   CR 16-04-BLG-SPW-l
                      Plaintiff,

 vs.                                                  ORDER

 OMAR COTA aka Omar Cota-Lopez
 and TOMAS COTA,

                      Defendants.

       Upon the Defendant, Omar Cota's Motion to Withdraw Robert L. Kelleher,

Jr. (Doc. 54), and for good cause appearing,

       IT IS HEREBY ORDERED that Robert J. Kelleher be relieved of all legal

duties to Omar Cota and that new counsel be appointed as counsel of record for all

further proceedings, pursuant to 18 U.S.C. § 3006A.

       Further, pursuant to the Criminal Justice Act, supra, Brian P. Fay, CJA

Panel Attorney, is reappointed for all further proceedings.

       The Clerk of Court is directed to notify counsel of the making of this Order.
                      /i   ::r
       DATED this o</        day of October, 2016.j

                                               ~c.Wa?G-~
                                               SUSANP. WATTERS
                                               United States District Judge
